       Case 18-31466-5-mcr Doc 56 Filed 11/19/19 Entered 11/19/19 12:08:37                         Desc
                         Notice of Deficient Document Page 1 of 1
                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF NEW YORK

In re Mary Ellen Gallup and Christopher Gallup ,                     )
                                                                     )
                       Debtor(s)                                     )
                                                                     )
                                                                     )   Case No. 18−31466−5−mcr
                                                                     )
                                                                     )
                                                                     )
Social Security No(s).: xxx−xx−6524 xxx−xx−1853 and all              )   Chapter 13
Employer's Tax Identification No(s). [if any]                        )
                                                                     )
                                                                     )
                                                                     )
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                          CLERK'S NOTICE OF DEFICIENT DOCUMENT FILED

The Clerk has received and filed your document(s) numbered 55 with respect to the above
case/adversary. The Court cannot further process your document as filed due to:

   Problem/Error:

       1.) The PDF was submitted without a Case Number


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Failure to resolve the deficiency(s) by the above deadline may result in the Court not processing your
pleadings, not granting the relief requested, and/or taking other Court action as appropriate.

In the event that you have provided notice to parties, it is your responsibility to advise parties of any
changes or corrections.

Date: 11/19/19                                        Cynthia A. Platt
                                                      Clerk of the Bankruptcy Court

                                                      By: Dina McDonald
                                                          518−257−1611
                                                         Deputy Clerk's Name and Telephone Number
